98 F.3d 1335
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jimmy TINSLEY, Petitioner--Appellant,v.Ronald J. ANGELONE, Director, Virginia Department ofCorrections, Respondent--Appellee.
    No. 95-7548.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 3, 1996.Decided Oct. 9, 1996.
    
      Jimmy Tinsley, Appellant Pro Se.  Katherine P. Baldwin, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellee.
      W.D.Va.
      DISMISSED. Before ERVIN, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his petition under 28 U.S.C. § 2254 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214, and denying his motion for reconsideration.  We have reviewed the record and the district court's opinions and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal;  to the extent a certificate of appealability is required, we deny such a certificate.  We dismiss the appeal on the reasoning of the district court.   Tinsley v. Angelone, No. CA-94-256-R (W.D.Va. Apr. 4, 1995 &amp; Aug. 28, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    